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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                           Criminal No. JKB-22-7

                   v.

MARILYN J. MOSBY,

                            Defendant



               UNITED STATES’ POSITION ON JUROR QUESTIONNAIRE

        As directed by the Court, the United States has reviewed the draft juror questionnaire

 provided by the Court on March 1, 2022. The United States objects to draft question number 1

 and has submitted requested revisions to the Court.


                                              Respectfully submitted,

                                              EREK L. BARRON
                                              UNITED STATES ATTORNEY


                                        By:_________/s/__________________
                                             Leo J. Wise
                                             Sean R. Delaney
                                             Aaron Zelinsky
                                             Assistant United States Attorneys




                                   CERTIFICATE OF SERVICE
        I hereby certify that this filing was served on defense counsel via ECF electronic filing.


                                              ___/s/__________________
                                              Leo J. Wise
                                              Assistant United States Attorney
